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                         EXHIBIT F
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                                                                                                        36431286



                            UNITED STATES DISTRICT COURT                                            Mar 11 2011
                            EASTERN DISTRICT OF LOUISIANA                                            5:00PM




In re: Oil Spill by the Oil Rig “Deepwater
                                    :                       MDL No. 2179
       Horizon” in the Gulf of Mexico, on
                                    :
       April 20, 2010               :                       SECTION: J
                                    :
This Document Relates To: All Cases :                       JUDGE BARBIER
                                    :                       MAGISTRATE JUDGE SHUSHAN
…………………………………………………... :

                THE BP PARTIES’ FIRST REQUEST FOR PRODUCTION
                  OF DOCUMENTS TO THE TRANSOCEAN PARTIES

       Pursuant to Federal Rules of Civil Procedure 26 and 34, BP Exploration & Production

Inc. and BP America Production Company (the “BP Parties”) propound the following requests

for production to Transocean Ltd., Triton Asset Leasing GmbH, Transocean Holdings LLC,

Transocean Deepwater Inc., and Transocean Offshore Deepwater Drilling Inc. (the “Transocean

Parties”) to be responded to within 30 days of service. The BP Parties request that all documents

and electronically stored information responsive to the following Requests for Production of

Documents be produced at the offices of Kirkland & Ellis LLP, 300 North LaSalle Street,

Chicago, Illinois, 60654.

                                         DEFINITIONS

       1.      “You,” “your,” and “yours” shall mean the Transocean Parties, including without

limitation all of the Transocean Parties’ present or former agents or representatives, or anyone

acting or purporting to act for or on the Transocean Parties’ behalf for any purpose whatsoever.

       2.      “Person” shall mean an individual as well as any entity including any

proprietorship, partnership, corporation, firm, committee, or any other organization.

       3.      “Communication” means any transmission of information by one or more persons

to one or more persons by any means including, without limitation, telephone conversations,
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letters, telegrams, teletypes, telexes, telecopies, e-mail, computer linkups, written memoranda,

and face-to-face conversations; “communication” includes all documents and ESI containing,

summarizing, or memorializing any communication.

       4.      “Document” or “documents” has the full meaning ascribed to it by Federal Rule

of Civil Procedure 34(a), including electronically stored information (“ESI”), and includes the

original and any identical or non-identical copy, regardless of origin or location, of any writing

or record of any type or description, including but not limited to all writings; records; contracts;

agreements; communications (intra or inter-company); correspondence; memoranda; letters;

facsimiles; electronic mail (e-mail); minutes, recordings, transcripts, and summaries of meetings,

or recordings of meetings, speeches, presentations, conversations, or telephone calls (whether

recorded in writing, mechanically, or electronically); handwritten and typewritten notes of any

kind; statements; reports; voice recordings; desk calendars; diaries; logs; drafts; studies;

analyses; schedules; forecasts; surveys; invoices; receipts; computer data; computer printouts;

financial statements; balance sheets; profit and loss statements; statements of earnings;

statements of net worth; credit reports; statements of operations; audit reports; financial

summaries; statements of lists of assets; work papers; pictures; photographs; drawings; computer

cards; tapes; discs; printouts and records of all types; instruction manuals; policy manuals and

statements; books; pamphlets; cancelled checks; check stubs; and every other device or medium

by which information or intelligence of any type is transmitted, recorded, or preserved, or from

which intelligence or information can be perceived.

       5.      “Identify,” when used with respect to: (a) an individual, shall mean to provide the

individual’s full name, job title, and employer during the period referred to, and current or last-

known address and telephone number and business address and telephone number; (b) any entity



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other than an individual, shall mean to provide the entity’s full name and current or last-known

address (designating which); and (c) a document, shall mean to provide the date, title, subject

matter, author(s), recipient(s), and Bates number(s).

        6.      “Including” or “includes” means “including but not limited to” or “including

without limitation.”

        7.      “Relating to” or “relating to,” when referring to any given subject matter, means

any document that constitutes, comprises, involves, contains, embodies, reflects, identifies,

states, mentions, alludes to, refers directly or indirectly to, or is in any way relevant to the

particular subject matter identified.

        8.      The words “and” and “or” shall be construed conjunctively or disjunctively as

necessary to make the request inclusive rather than exclusive.

        9.      “MC252 well” means the exploratory well that was being drilled by the

Deepwater Horizon in the Macondo prospect of Mississippi Canyon 252 in the outer continental

shelf of the Gulf of Mexico, approximately 130 miles southeast of New Orleans, Louisiana.

        10.     “Transocean” means Transocean Ltd. and all of its affiliates and subsidiaries.

        11.     “BP” means BP p.l.c. and all of its affiliates and subsidiaries.

        12.     “Kick,” whether or not capitalized, means the intrusion of hydrocarbons into a

wellbore.

        13.     “Blowout,” whether or not capitalized, means an uncontrolled release of

hydrocarbons from a well.

        14.     “Well control incident,” whether or not capitalized, means any kick or blowout.

        15.     Other terms are defined within the requests for production.

                                         INSTRUCTIONS

        1.      All documents are to be produced in accord with Pre-Trial Order No. 16.

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        2.      Produce all documents within your possession, custody, or control including all

documents in the possession, custody, or control of your affiliates, partners, employees, agents,

attorneys, accountants, advisors, consultants, or other persons directly or indirectly connected

with you or subject to your control.

        3.      If any responsive document has been lost, destroyed, removed from, or is no

longer in your possession, custody, or control for any reason, please identify the document, its

last known location, and the circumstances surrounding its loss, destruction, or removal.

        4.      If you contend that any responsive document is protected from disclosure

pursuant to any privilege or work-product doctrine, then you must comply with the requirements

of Pre-Trial Order No. 14 and Federal Rule of Civil Procedure 26(b)(5).

        5.      Each request is to be construed independently and not by or with reference to any

other request for purposes of limiting the scope of any particular request.

        6.      If you claim that the language of any request is vague or ambiguous, then you

must identify the language you believe is ambiguous and describe the different interpretations

that you believe may apply to such language. Regardless of any vagueness or ambiguity you

claim, you are to answer the request for production and produce the requested documents to the

best of your ability.

        7.      If no documents responsive to a particular request exist, or if such documents

exist but are not in your possession, custody, or control, then your response to that request shall

so state.

        8.      Pursuant to Federal Rule of Civil Procedure 26(e), these requests are continuing

and you must revise or supplement your responses and production whenever new or additional

responsive information becomes known.



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                              REQUESTS FOR PRODUCTION

       1.      All documents requested by, or produced in response to, requests for production

and interrogatories served on any Transocean Party by any other party in MDL No. 2197,

including but not limited to Plaintiffs, Anadarko Petroleum Corporation, and MOEX Offshore

2007 LLC.

       2.      All documents relating to any inspections, audits, certifications, or surveys of the

Deepwater Horizon, including but not limited to documents relating to inspections, audits,

certifications, or surveys by the Marshall Islands, American Bureau of Shipping, Det Norske

Veritas, the United States Coast Guard, the Minerals Management Service (now known as the

Bureau of Ocean Energy Management, Regulation and Enforcement), BP, Lloyd’s Register

EMEA, West Engineering Services, and ModuSpec USA, Inc.

       3.      All documents relating to Transocean’s responses to the findings of any

inspections, audits, certifications, or surveys of the Deepwater Horizon, including but not limited

to Transocean’s decisions whether to take any action in response to such findings; any repairs or

maintenance undertaken in response to such findings; or Transocean’s rejection of, objection to,

or disagreement with such findings.

       4.      All documents relating to any maintenance, inspection, or testing of the

Deepwater Horizon recommended by any person that Transocean did not implement.

       5.      All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding the

Deepwater Horizon’s blowout preventer (“BOP”) and all of its components.

       6.      All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s BOP and all of its components.

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         7.    All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s BOP and all of its components.

         8.    All documents relating to whether the actual maintenance, inspection, and testing

of the Deepwater Horizon’s BOP complied with Transocean’s policies, practices, procedures,

standards, requirements, protocols, and/or planning regarding maintenance, inspection, and

testing of BOPs.

         9.    All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding the

Deepwater Horizon’s emergency disconnect system (“EDS”).

         10.   All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s EDS.

         11.   All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s EDS.

         12.   All documents relating to whether the actual maintenance, inspection, and testing

of the Deepwater Horizon’s EDS complied with Transocean’s policies, practices, procedures,

standards, requirements, and/or protocols regarding maintenance, inspection, and testing of

EDS’s.

         13.   All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding the

Deepwater Horizon’s mud-gas separator (“MGS”).



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       14.     All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s MGS.

       15.     All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s MGS.

       16.     All documents relating to whether the actual maintenance, inspection, and testing

of the Deepwater Horizon’s MGS complied with Transocean’s policies, practices, procedures,

standards, requirements, and/or protocols regarding maintenance, inspection, and testing of

MGS’s.

       17.      All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding the

Deepwater Horizon’s diverter system.

       18.     All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s diverter system.

       19.     All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s diverter system.

       20.     All documents relating to whether the actual maintenance, inspection, and testing

of the Deepwater Horizon’s diverter system complied with Transocean’s policies, practices,

procedures, standards, requirements, and/or protocols regarding maintenance, inspection, and

testing of diverter systems.



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       21.     All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding equipment

on the Deepwater Horizon designed or intended to stop or control the flow of hydrocarbons.

       22.     All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding equipment on the

Deepwater Horizon designed or intended to stop or control the flow of hydrocarbons.

       23.     All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding equipment on the

Deepwater Horizon designed or intended to stop or control the flow of hydrocarbons.

       24.     All documents relating to whether the actual maintenance, inspection, and testing

of equipment on the Deepwater Horizon designed or intended to stop or control the flow of

hydrocarbons complied with Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding maintenance, inspection, and testing of equipment on

deepwater drilling rigs designed or intended to stop or control the flow of hydrocarbons.

       25.     All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding the

Deepwater Horizon’s alarm systems.

       26.     All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s alarm systems.

       27.     All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s alarm systems.



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        28.    All documents relating to whether the actual maintenance, inspection, and testing

of the Deepwater Horizon’s alarm systems complied with Transocean’s policies, practices,

procedures, standards, requirements, and/or protocols regarding maintenance, inspection, and

testing of alarm systems.

        29.    All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding the

Deepwater Horizon’s emergency shutdown system (“ESD”).

        30.    All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s ESD.

        31.    All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s ESD.

        32.    All documents relating to whether the actual maintenance, inspection, and testing

of the Deepwater Horizon’s ESD complied with Transocean’s policies, practices, procedures,

standards, requirements, and/or protocols regarding maintenance, inspection, and testing of

ESDs.

        33.    All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding the

Deepwater Horizon’s rig savers.

        34.    All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s rig savers.



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        35.     All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s rig savers.

        36.     All documents relating to whether the actual maintenance, inspection, and testing

of the Deepwater Horizon’s rig savers complied with Transocean’s policies, practices,

procedures, standards, requirements, and/or protocols regarding maintenance, inspection, and

testing of rig savers.

        37.     All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding the

Deepwater Horizon’s overspeed controls.

        38.     All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s overspeed controls.

        39.     All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s overspeed controls.

        40.     All documents relating to whether the actual maintenance, inspection, and testing

of the Deepwater Horizon’s overspeed controls complied with Transocean’s policies, practices,

procedures, standards, requirements, and/or protocols regarding maintenance, inspection, and

testing of overspeed controls.

        41.     All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding equipment




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on the Deepwater Horizon designed or intended to keep the rig safe in the event hydrocarbons

flow onto the rig.

        42.     All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding equipment on the

Deepwater Horizon designed or intended to keep the rig safe in the event hydrocarbons flow

onto the rig.

        43.     All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding equipment on the

Deepwater Horizon designed or intended to keep the rig safe in the event hydrocarbons flow

onto the rig.

        44.     All documents relating to whether the actual maintenance, inspection, and testing

of equipment on the Deepwater Horizon designed or intended to keep the rig safe in the event

hydrocarbons flow onto the rig complied with Transocean’s policies, practices, procedures,

standards, requirements, and/or protocols regarding maintenance, inspection, and testing of

equipment on deepwater drilling rigs designed or intended to keep the rig safe in the event

hydrocarbons flow onto the rig.

        45.     All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding the

Deepwater Horizon’s firefighting equipment.

        46.     All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s firefighting equipment.




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        47.     All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s firefighting equipment.

        48.     All documents relating to whether the actual maintenance, inspection, and testing

of the Deepwater Horizon’s firefighting equipment complied with Transocean’s policies,

practices, procedures, standards, requirements, and/or protocols regarding maintenance,

inspection, and testing of firefighting equipment.

        49.     All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding the

Deepwater Horizon’s generators.

        50.     All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon’s generators.

        51.     All documents relating to whether the actual maintenance and inspection of the

Deepwater Horizon’s generators complied with Transocean’s policies, practices, procedures,

standards, requirements, and/or protocols regarding maintenance and inspection of generators.

        52.     All documents relating to any maintenance, including maintenance policies,

practices, procedures, standards, requirements, protocols, and/or planning, regarding the

Deepwater Horizon’s computer system, controls, and displays for the driller’s and assistant

driller’s control chairs.

        53.     All documents relating to any inspections, including inspection policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater




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Horizon’s computer system, controls, and displays for the driller’s and assistant driller’s control

chairs.

          54.   All documents relating to whether the actual maintenance and inspection of the

Deepwater Horizon’s computer system, controls, and displays for the driller’s and assistant

driller’s control chairs complied with Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding maintenance and inspection of computer system,

controls, and displays for the driller’s and assistant driller’s control chairs.

          55.   All documents relating to any maintenance, inspections, and/or testing of the

Deepwater Horizon and its equipment that was outstanding or overdue on April 20, 2010.

          56.   All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for informing or not informing BP regarding any maintenance,

inspections, and/or testing of the Deepwater Horizon and its equipment.

          57.   All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for informing or not informing BP of any outstanding or overdue

maintenance, inspections, and/or testing of the Deepwater Horizon and its equipment.

          58.   All documents relating to the Deepwater Horizon’s systems for scheduling,

conducting, and monitoring maintenance (including but not limited to Rig Management System

II) generating duplicative work orders, work orders meant for a different rig, work orders for

maintenance that had already been performed, or work orders that were otherwise erroneous or

irrelevant.

          59.   All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for conducting “condition-based maintenance” on the Deepwater

Horizon and its equipment, including the BOP.



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        60.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for conducting “condition-based maintenance” on its deepwater

drilling rigs and their equipment, including their BOPs.

        61.    All documents relating to Transocean’s use of “condition-based maintenance”

instead of the American Petroleum Institute (“API”) standards, specifications, and/or

recommended practices in maintaining, inspecting, and/or testing on its deepwater drilling rigs

and their equipment, including their BOPs.

        62.    All documents relating to the costs associated with Transocean’s use of

“condition-based maintenance” on the Deepwater Horizon and Transocean’s other deepwater

drilling rigs and their equipment including their BOPs, including but not limited to comparisons

of the cost of using “condition-based maintenance” with the cost of alternative maintenance

planning.

        63.    All documents relating to Transocean’s use of “condition-based maintenance”

instead of requirements or standards set forth in federal laws or regulations in maintaining,

inspecting, and/or testing on its deepwater drilling rigs and their equipment, including their

BOPs.

        64.    All documents relating to Cameron International Corporation’s recommended

policies, practices, procedures, standards, requirements, and/or protocols for maintaining,

inspecting, and testing the Deepwater Horizon’s BOP.

        65.    All documents related to whether the Deepwater Horizon, its crew, and

equipment were in compliance with the International Safety Management Code (“ISM”).




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       66.     All documents related to whether the Deepwater Horizon, its crew, and

equipment were in compliance with the International Convention for the Safety of Life at Sea

(“SOLAS”).

       67.     All documents related to whether the Deepwater Horizon, its crew, and

equipment were in compliance with United States Coast Guard regulations.

       68.     All documents related to whether the Deepwater Horizon, its crew, and

equipment were in compliance with regulations of the Minerals Management Service (“MMS”),

now known as the Bureau of Ocean Energy Management, Regulation and Enforcement

(“BOEMRE”).

       69.     All documents relating to schematics, diagrams, drawings, or blueprints for the

Deepwater Horizon’s BOP both as manufactured and as it existed at the time of the incident.

       70.     All documents relating to any leaks from any part or component of the Deepwater

Horizon’s BOP.

       71.     All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for addressing leaks from any part or component of a BOP.

       72.     All documents relating to any modifications Transocean or any other entity made

to the Deepwater Horizon’s BOP.

       73.     All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for making, or allowing a third party to make, modifications to a

BOP.

       74.     All documents relating to Transocean’s replacement of any parts in the

Deepwater Horizon’s BOP.




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       75.     All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for replacing parts in a BOP.

       76.     All documents relating to American Petroleum Institute Recommended Practice

53 (“API RP 53”).

       77.     All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for complying with API RP 53.

       78.     All documents relating to the subsea electronic modules or control pods for the

Deepwater Horizon’s BOP.

       79.     All documents relating to how frequently Transocean re-charged or replaced the

batteries in the Deepwater Horizon’s BOP’s subsea electronic modules or control pods.

       80.     All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for re-charging or replacing the batteries in a BOP’s subsea

electronic modules or control pods.

       81.     All documents relating to solenoid 103 of the Deepwater Horizon BOP’s yellow

control pod.

       82.     All documents relating to the effects of uncontrolled well flow on a BOP,

including but not limited to documents relating to whether and how uncontrolled well flow can

damage a BOP.

       83.     All documents relating to the Deepwater Horizon BOP’s automatic mode function

or deadman function.

       84.     All documents relating to any testing, including testing policies, practices,

procedures, standards, requirements, protocols, and/or planning, regarding the Deepwater

Horizon BOP’s automatic mode function or deadman function.



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       85.     All documents relating to the alarms, including but not limited to the gas and

general alarms, on the Deepwater Horizon.

       86.     All documents relating to Transocean inhibiting or operating in manual mode the

alarm systems on the Deepwater Horizon.

       87.     All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for inhibiting or operating in manual mode the alarm systems on

its deepwater drilling rigs.

       88.     All documents relating to the training that each Deepwater Horizon crew member

received on when and how to activate the Deepwater Horizon’s alarms, including its gas and

general alarms.

       89.     All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for when and how to activate the Deepwater Horizon’s alarms,

including its gas and general alarms.

       90.     All documents relating to the Deepwater Horizon’s overspeed controls.

       91.     All documents relating to any loss of power by the Deepwater Horizon, including

but not limited to the blackout that occurred on the Deepwater Horizon in August 2008.

       92.     All documents relating to the failure of the Deepwater Horizon’s overspeed

controls for engine no. 3 causing a blackout on the Deepwater Horizon in August 2008.

       93.     All documents relating to any maintenance, repairs, replacement, inspection,

and/or testing of the Deepwater Horizon’s overspeed controls as a result of the August 2008

blackout on the Deepwater Horizon.

       94.     All documents relating to the Deepwater Horizon’s rig savers.

       95.     All documents relating to the Deepwater Horizon’s emergency shutdown system.



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          96.    All documents relating to any of the Deepwater Horizon’s equipment intended to

prevent gas flow to the engine control room or shut down the rig’s engines if combustible gas is

detected.

          97.    All documents relating to the Deepwater Horizon’s heating, ventilation, and air

conditioning system.

          98.    All documents relating to the Deepwater Horizon’s MGS.

          99.    All documents relating to the Deepwater Horizon’s diverter system.

          100.   Documents sufficient to show all types of data shown on the Deepwater

Horizon’s computer system, controls, and displays for the driller’s and assistant driller’s control

chairs.

          101.   All documents relating to the Deepwater Horizon’s computer system, controls,

and displays for the driller’s and assistant driller’s control chairs failing to show data, showing

data on a delayed basis, or showing erroneous data.

          102.   All documents relating to all prior activations of the Deepwater Horizon’s EDS.

          103.   All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding when a drilling rig’s EDS should be activated.

          104.   All documents relating to when the Deepwater Horizon’s EDS was activated or

attempted to be activated on April 20, 2010, including but not limited to when orders were given

to activate or not activate the Deepwater Horizon’s EDS.

          105.   All documents relating to the training that each crew member received on when

and how to activate the Deepwater Horizon’s EDS.

          106.   All documents relating to the MC252 well control incident on April 20, 2010.




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       107.    All documents relating to the data from the Hitec sensors and Sperry-Sun sensors

collected on the Deepwater Horizon on April 20, 2010.

       108.    All documents relating to the Deepwater Horizon crew’s monitoring for kicks on

April 20, 2010.

       109.    All documents related to the training the Deepwater Horizon crew received

regarding monitoring for kicks.

       110.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding monitoring for kicks during drilling or temporary

abandonment procedures.

       111.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding what data should be monitored to determine whether a

kick is occurring, and what changes in that data indicate that a kick is occurring.

       112.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding the use of drill pipe pressure data and changes in such

data to determine whether a kick is occurring.

       113.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding the use of flow-out and flow-in data and changes in

such data to determine whether a kick is occurring.

       114.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for determining whether a kick is occurring.

       115.    All documents related to the training the Deepwater Horizon crew received to

determine when a kick is occurring.




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        116.    All documents relating to the actions the Transocean crew took in response to the

MC252 well control incident on April 20, 2010.

        117.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding how the crew of a deepwater drilling rig should respond

to a kick.

        118.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding how the crew of a deepwater drilling rig should respond

to a blowout.

        119.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding how the crew of a deepwater drilling rig should respond

when gas enters into the riser of a deepwater drilling rig.

        120.    All documents relating to the use of the Deepwater Horizon’s MGS on April 20,

2010.

        121.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding when and how the crew of a deepwater drilling rig

should use the MGS in response to a well control incident.

        122.    All documents relating to the use of the diverter system’s overboard lines on April

20, 2010.

        123.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding when and how the crew of a deepwater drilling rig

should use the diverter system’s overboard lines in response to a well control incident.

        124.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding when the crew of a deepwater drilling rig should use



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the diverter system’s overboard lines instead of the MGS, or vice versa, in response to a well

control incident.

       125.    All documents relating to the use of the BOP on April 20, 2010.

       126.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding how the crew of a deepwater drilling rig should use the

BOP in response to a well control incident.

       127.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding when the crew of a deepwater drilling rig should use

the BOP’s blind shear rams in response to a well control incident.

       128.    All documents related to the training the Deepwater Horizon crew received in

responding to kicks.

       129.    All documents related to the training the Deepwater Horizon crew received in

responding to blowouts.

       130.    All documents related to the training the Deepwater Horizon crew received in

responding to gas in the riser.

       131.    All documents related to the training the Deepwater Horizon crew received in

whether to use the MGS or diverter system’s overboard lines in response to a blowout.

       132.    All documents related to the training the Deepwater Horizon crew received in

using the BOP to control a kick.

       133.    All documents related to the training the Deepwater Horizon crew received in

using the BOP to control a blowout.

       134.    All documents relating to the March 8, 2010 kick experienced when the

Deepwater Horizon was drilling the MC252 well.



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        135.   All documents relating to the most likely causes of a blowout, including whether a

blowout is more likely to arise from human error or equipment failure rather than reservoir

conditions.

        136.   All documents relating to the displacement of drilling fluid from the MC252 well

with seawater on April 20, 2010.

        137.   All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding displacing drilling fluid with seawater as part of a

temporary abandonment process for an exploratory deepwater well.

        138.   All documents relating to the spacer used for displacing the drilling fluids from

the MC252 well on April 20, 2010.

        139.   All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols regarding spacer used for displacing drilling fluids as part of a

temporary abandonment process for an exploratory deepwater well.

        140.   All documents relating to negative pressure tests of the MC252 well on April 20,

2010.

        141.   All documents relating to the training each crew member on the Deepwater

Horizon, including but not limited to each Offshore Installation Manager (“OIM”), driller and

toolpusher, received regarding performing and interpreting negative pressure tests.

        142.   All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for performing and interpreting negative pressure tests on the

Deepwater Horizon and other rigs.

        143.   All documents relating to bladder effects or annular compression when

performing or interpreting negative pressure tests.



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       144.    All documents relating to any statements made by any member of the Deepwater

Horizon crew that one or both of the negative pressure tests conducted on April 20, 2010

regarding the MC252 well were successful.

       145.    All documents relating to any statements made by Jason Anderson regarding the

negative pressure tests conducted on April 20, 2010 regarding the MC252 well.

       146.    All documents relating to any statements made by Dewey Revette regarding the

negative pressure tests conducted on April 20, 2010 regarding the MC252 well.

       147.    All documents relating to the monitoring or measuring the flow-in and flow-out of

drilling fluids on the Deepwater Horizon on April 20, 2010.

       148.    All documents relating to drilling fluids being transferred to any other vessel or

being discharged overboard from the Deepwater Horizon on April 20, 2010.

       149.    All documents relating to Transocean’s policies, practices, procedures, standards,

requirements, and/or protocols for monitoring, measuring, transferring, or discharging drilling

fluids during temporary abandonment procedures.

       150.    All documents relating to the Deepwater Horizon’s engines and generators,

including but not limited to the operation of those engines and generators on April 20, 2010.

       151.    All documents relating to orders or commands given by the OIM and Captain or

Master relating to the incident on April 20, 2010.

       152.    All documents relating to the sinking of the Deepwater Horizon, including but not

limited to any documents relating to any investigation of why the Deepwater Horizon sank and

all communications to Transocean’s insurers regarding the sinking of the Deepwater Horizon.




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       153.    All documents relating to efforts to fight the fires on board the Deepwater

Horizon on and after April 20, 2010, including but not limited to firefighting efforts both before

and after the evacuation of the Deepwater Horizon.

       154.    All documents relating to the training the Deepwater Horizon’s crew received in

fighting fires on the Deepwater Horizon.

       155.    All documents relating to the Transocean Command Center initially set up in

response to the Deepwater Horizon incident, including but not limited to documents relating to

communications between the Transocean Command Center and the United States Coast Guard,

the BP Command Center, or any other third party.

       156.    All documents relating to efforts by any person or entity to activate the BOP after

the Deepwater Horizon incident on April 20, 2010.

       157.    All documents relating to the flow rate of oil or other hydrocarbons from the

MC252 well after the Deepwater Horizon incident on April 20, 2010.

       158.    All documents relating to efforts to contain or clean up the oil spill after the

Deepwater Horizon incident on April 20, 2010.

       159.    All documents consisting of or relating to the personnel files of all crew members

of the Deepwater Horizon, including but not limited to all performance evaluations of the crew

members.

       160.    All documents consisting of or relating to the personnel files of all on-shore

personnel who supervised or were responsible for the Deepwater Horizon, including but not

limited to all performance evaluations.

       161.    All documents relating to changes in the number of the crew on board the

Deepwater Horizon.



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        162.     All documents relating to the duties, responsibilities, and authority of the OIM on

Transocean drilling rigs.

        163.     All documents relating to the duties, responsibilities, and authority of the Captain

on Transocean drilling rigs.

        164.     All documents relating to the designation of the person-in-charge on Transocean

drilling rigs.

        165.     All documents relating to the circumstances under which the person-in-charge on

a Transocean drilling rig may change.

        166.     All documents relating to who the person-in-charge on a Transocean drilling rig is

during an emergency.

        167.     All documents relating to the training received by Captain Curt Kuchta and OIM

Jimmy Harrell, including but not limited to training relating to addressing emergencies.

        168.     All documents relating to Transocean’s policies and procedures for training OIMs

and Captains or Masters, including but not limited to training relating to addressing emergencies.

        169.     All documents relating to training for the OIM, toolpushers, drillers, and other

members of the Deepwater Horizon crew in preventing, detecting, and addressing well control

incidents.

        170.     All documents relating to the work-related licenses held by the Deepwater

Horizon crew, including but not limited to the licenses of the rig’s captains.

        171.     All documents relating to any interviews of or statements made by any person on

the Deepwater Horizon or Damon Bankston on April 20, 2010.




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       172.    All documents relating to any interviews of or statements made by any person

who was interviewed, questioned, or contacted as part of any Transocean investigation regarding

the Deepwater Horizon incident on April 20, 2010 or the subsequent oil spill.

       173.    All documents relating to any investigation being conducted by Transocean

regarding the Deepwater Horizon incident on April 20, 2010 or the subsequent oil spill,

including but not limited to drafts of reports relating to any such investigation and all documents

investigators reviewed or relied on in the course of such investigation.

       174.    All documents relating to any reason why the Deepwater Horizon crew did not

recognize the April 20, 2010 well control incident earlier.

       175.    All documents relating to any reason why the Deepwater Horizon crew did not

take well control measures earlier in response to the April 20, 2010 well control incident.

       176.    All documents relating to any reason why the Deepwater Horizon crew did not

use the BOP’s blind shear ram in response to the April 20, 2010 well control incident.

       177.    All documents relating to any reason why the Deepwater Horizon crew used the

MGS rather than the diverter system’s overboard lines in response to the April 20, 2010 well

control incident.

       178.    All documents relating to any reason why the Deepwater Horizon crew did not

activate the EDS earlier in response to the April 20, 2010 well control incident.

       179.    All documents relating to the failure of the BOP to shut in the MC252 well in

response to the April 20, 2010 well control incident.

       180.    All documents relating to the failure of the BOP’s deadman or automatic mode

function to shut in the MC252 well in response to the April 20, 2010 well control incident.




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       181.    All documents relating to the ESD not preventing the ignition of gas on the

Deepwater Horizon on April 20, 2010.

       182.    All documents relating to the rig savers not preventing the ignition of gas on the

Deepwater Horizon on April 20, 2010.

       183.    All documents relating to the overspeed controls not preventing the ignition of gas

on the Deepwater Horizon on April 20, 2010.

       184.    All documents relating to all well control incidents that occurred when the

Deepwater Horizon was drilling or latched up to a well.

       185.    All documents relating to all well control incidents that occurred during the

drilling of the MC252 well.

       186.    All documents relating to any incidents or accidents on the Deepwater Horizon

that damaged the rig itself or injured any person, including but not limited to any internal

assessment of such incidents or accidents.

       187.    All documents relating to any incidents or accidents on the Deepwater Horizon

that posed a risk to the rig itself or to the safety of any person, including but not limited to any

internal assessment of such incidents or accidents.

       188.    All documents relating to any government citations, warnings, penalties, notices

of noncompliance, or similar documents relating to the Deepwater Horizon.

       189.    All documents relating to the U.S. Minerals Management Service, Bureau of

Ocean Energy Management, Regulation and Enforcement, or Coast Guard’s investigations of

incidents on the Deepwater Horizon.

       190.    All documents relating to the safety performance on the Deepwater Horizon,

including but not limited to documents relating to the Deepwater Horizon’s total recordable



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incident rate (“TRIR”), total potential severity rate (“TPSR”), and high-potential dropped objects

measure (“HPDO”).

       191.    All documents relating to any blowouts or any well control incidents where

hydrocarbons from a well reached the riser on or after January 1, 2000, that have occurred when

any Transocean drilling rig was drilling or latched up to a well.

       192.    All documents relating to the well control incident that occurred on December 23,

2009, when Transocean’s Sedco 711 rig was drilling a well in the North Sea, including but not

limited to any internal reports regarding that incident.




Dated: March 11, 2011                              Respectfully submitted,

                                                   /s/ J. Andrew Langan, P.C.
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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, which will send a notice in accordance with the procedures established in MDL 2179, on

this 11th day of March, 2011.



                                                /s/ J. Andrew Langan, P.C.




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